Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 1 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 2 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 3 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 4 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 5 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 6 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 7 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 8 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 9 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 10 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 11 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 12 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 13 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 14 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 15 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 16 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 17 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 18 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 19 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 20 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 21 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 22 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 23 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 24 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 25 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 26 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 27 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 28 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 29 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 30 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 31 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 32 of 33
Case 2:16-bk-11330-BR   Doc 39-4 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
                           Exhibits L-N Page 33 of 33
